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 6                        IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8
     Tracey Carter,                                    No. CV17-2918 PHX DGC
 9
                           Plaintiff,                  ORDER
10
     v.
11
12   TransUnion LLC, a Delaware limited
     liability company, et al.,
13
                           Defendants.
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15            The Court has been advised that this case has settled. Doc. 23.
16            IT IS ORDERED:
17            1.    This matter will, without further Order of this Court, be dismissed with
18   prejudice within 30 days of the date of this order unless a stipulation to dismiss is filed
19   prior to the dismissal date.
20            2.    All pending hearings and deadlines are vacated.
21            3.    All pending motions are found to be moot.
22            4.    The Clerk is directed to terminate this matter on January 8, 2018 without
23   further leave of Court.
24            Dated this 7th day of December, 2017.
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